Case 2:03-cV-02975-.]DB-STA Document 55 Filed 06/13/05 Page 1 of 4 Page|D 78

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IN THE uNITED sTATEs DISTRICT CoURT 3‘° pa o.r,~,
FoR THE wEsTERN DISTRICT oF TENNEssEE 95 JUN fe
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cHARLEs MCAULEY ADAMs, ' ' ~ » c tr&. #»H,»;~H,n
Plaimiff,
v. No. 03-2975-B/An

LINCOLN ALLISON FEES HODGES, et al.,

Defendants.

 

ORDER GRANTING PLAINTIFF ADDITIONAL TIME TO CONDUCT DISCOVERY
UNDER RULE 56({') FEDERAL RULES OF CIVIL PROCEDURE

 

Before the Court is a response filed by the attorney for the Plaintiff, Charles McAuley
Adams, which in essence requests an additional amount of time to conduct discovery in order
to respond to the motion for summary judgment filed by Defendant, Shelby County, Tennessee.
Because the Plaintiff Was delinquent in responding to the Defendant’s motion and no word had
been received by the Court as to the reason for the lack of response, this Court entered an order
to show cause on May 19, 2005, as to why the Defendant’s motion for summary judgment
should not be granted. Thus, the pleading filed by the Plaintiff on June 3, 2005, will be
received as such a response and as a further request for a reasonable time to conduct discovery
in order to respond to Defendant’s motion.

Without detailing all of the reasons Plaintiff has set forth, based upon personal difficulties
and medical problems with his wife, the Plaintiff has shown sufficient cause for his delay in
answering the Defendant’s motion. Furthermore, Adams has also presented some basis for

limited discovery to respond to the Defendant’s dispositive motion. In addition, according to _,/ -“`\
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W`lth Flule 58 and/or 79(3 )FRCP on dl$" §§ ’ 2

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the response by the Plaintiff, counsel for the Defendant, Shelby County, states that she is not
opposed to a reasonable time for discovery as it relates only to the allegations against Shelby
County and not to the former parties who have been dismissed As well, Defendant’s counsel
seeks to restrict the discovery to those individuals whose names were listed in the pleadings with
regard to the claims against Shelby County.

For good cause shown, the Court will grant the Plaintiff ninety (90) days from the entry
of this order to conduct discovery for the purposes of filing a response to Shelby County’s
motion for summary judgment Furthermore, the discovery will be limited to the allegations
made by the Plaintiff against Shelby County, Tennessee and to those individuals whose names
are listed in the pleadings as they relate to those specific claims. If a dispute arises between
counsel as to the need for a particular deposition, the objecting party will submit a motion in
accordance with the Local Rules of this Court, following consultation between the attorneys in
an effort to resolve that problem. Following this ninety (90) day period for discovery, the
Plaintiff will be provided thirty (30) days to file his response to the Defendant’s motion for
summary judgment Further extensions of these deadlines will not be allowed absent good cause
shown.

IT IS SO ORDERED this l ja day of June, 2005.

  

 

J. DANIE'L BREEN\
U IT D sTATEs DISTRICT JUDGE

 

J unc 13, 2005 to the parties listed.

F TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 55 in
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